        Case 19-30453         Doc 5    Filed 04/22/19 Entered 04/22/19 10:53:21                   Desc Ntc. of
                                      Req. for Completion of Page 1 of 1
                                           United States Bankruptcy Court
                                              Middle District of Georgia
                                                  433 Cherry Street
                                                    P.O. Box 1957
                                                  Macon, GA 31202
                                                       4/22/19

In Re:
Taylor W. Bell
128 Rebecca Place
Athens, GA 30605
Debtor(s)

Case Number: 19−30453 JPS

Chapter 7

                   NOTICE OF REQUIREMENT TO FILE A CERTIFICATION ABOUT A
                  COURSE IN PERSONAL FINANCIAL MANAGEMENT (Official Form 423)

Notice is hereby given that, subject to limited exceptions, a debtor must complete an instructional course in personal
financial management in order to receive a discharge under Chapter 7 (11 U.S.C. Section 727) or under Chapter 13
(U.S.C. 1328(g)(1)). Pursuant to Rule 1007(b)(7) of the Federal Rules of Bankruptcy Procedure, the debtor(s) must
complete and file Debtor's Certification About a Financial Management Course (Official Form 423)* as described in
11 U.S.C. Section 111.

Debtor(s) and/or debtor(s)' attorney is/are hereby notified that Official Form 423 must be filed before a discharge can
be entered. Chapter 7 Debtor(s) and/or debtor(s)' attorney is/are hereby notified that the debtor(s) must file Official
Form 423 within 60 days after the first date set for the meeting of creditors under Section 341. Chapter 13 debtors are
urged to take the course and file the certificate as soon as possible but not later than the last payment made by the
debtor as required by the plan. Failure to file the certification will result in the case being closed without an entry of
discharge. If the debtor(s) subsequently file(s) a Motion to Reopen the Case to allow for the filing of the Official Form
423, the debtor(s) must pay the full reopening fee due for filing the motion.

*NOTE: Official Form 423 (Debtor's Certification About a Financial Management Course) must be filed in all
individual Chapter 13 and Chapter 7 cases even if the U.S. Trustee has not approved any credit counseling agency or
financial management course for the applicable district. See Rule 1007(b)(7). An individual debtor shall file the
statement in a Chapter 11 case in which 11 U.S.C. Section 1141(d)(3) applies.



                                                             Kyle George, Clerk
                                                             U.S. Bankruptcy Court
